Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 1 of 23 PageID #: 2261




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                     Terre Haute Division


   ROGER TODD,                                  )
                                                )
                   Plaintiff,                   )
                                                )
           v.                                   )              Case No.        2:19-cv-85-JMS-DLP
                                                )
   OCWEN LOAN SERVICING, INC., and              )
   DEUTSCHE BANK NATIONAL TRUST CO., as )
   Trustee for NovaStar Mortgage Funding Trust, )
   Series 2007-1 ,                              )
                                                )
                 Defendants.                    )

                REQUEST FOR PRODUCTION OF DOCUMENTS TO OCWEN

          Plaintiff, Roger Todd (“Todd”), by counsel, requests that Defendant, Ocwen Loan

   Servicing, LLC (“Ocwen”), produce the following documents and tangible things within its or its

   attorney’s possession, custody or control, pursuant to Rule 34 of the Federal Rules of Trial

   Procedure. The documents and things are to be produced within thirty days at the offices of

   Clark Quinn Moses Scott & Grahn, LLP, 320 N. Meridian St., Suite 1100, Indianapolis, Indiana

   46204, while any product or components are to be produced at a mutually convenient time and

   place within thirty days.

                                            DEFINITIONS

   1. “Loan” means collectively the note and mortgage alleged in paragraph 3 of Plaintiff’s First

      Amended Complaint and Demand for Jury Trial.

   2. “Bankruptcy Case” means the bankruptcy case filed by Todd pursuant to Chapter 13 of the

      United States Bankruptcy Code on March 4, 2011, in the United States Bankruptcy Court for

      the Southern District of Indiana, Case No. 11-80256-JJG-13.




                                                   1
                                                                                   Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 2 of 23 PageID #: 2262




   3. “Deutsche Bank” means the Defendant, Deutsche Bank National Trust Co., as Trustee for

      NovaStar Mortgage Funding Trust, series 2007-1.

                                 REQUESTS FOR PRODUCTION

   1. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, invoices or other documents referring to, relating to and/or justifying

      each and every assessed fee, expense and/or charge shown in the Life of Loan History

      attached as “Exhibit C” to the Plaintiff’s First Amended Complaint and Demand for Jury

      Trial.

      RESPONSE:



   2. Full and complete copies of all invoices, notes, reports, memoranda, statements, entries,

      emails, electronic messages, or other documents referring to, relating to and/or justifying the

      following fees and expenses assessed during the Bankruptcy Case: broker price opinion

      (“BPO”) on October 24, 2014 ($121.00), attorney fees for the “Review of Plan/Notice of

      Appearance on June 6, 2013 ($150.00), and “Prior Servicer Fees” on June 6, 2014

      ($1,471.71), July 8, 2014 ($519.82), and September 8, 2014 ($68.75).

      RESPONSE:


   3. As reflected by the Life of Loan History attached as “Exhibit C” to the Plaintiff’s First

      Amended Complaint and Demand for Jury Trial, full and complete copies of all invoices,

      notices, notes, reports, memoranda, statements, entries, emails, electronic messages, or other

      documents referring to, relating to and/or justifying the following fees and expenses assessed

      after the Bankruptcy Case:




                                                   2
                                                                                   Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 3 of 23 PageID #: 2263




          Provider       Description                    Date of Service        Amount
          Altisource     Ocwen BPO                      06/21/2016             $110.00
          Altisource     No Contact Inspection          8/3/2016               $13.25
          Altisource     No Contact Inspection          12/14/2016             $13.25
          Altisource     No Contact Inspection          12/27/2016             $13.25
          Altisource     No Contact Inspection          1/16/2016              $13.25
          Altisource     Exterior Property Inspection   2/14/2016              $13.25
          Altisource     Exterior Property Inspection   3/16/2016              $13.25
          Altisource     Exterior Property Inspection   4/18/2016              $14.50
          Altisource     Exterior Property Inspection   5/19/2016              $14.50
          Altisource     Exterior Property Inspection   6/19/2016              $14.50
          Altisource     Exterior Property Inspection   7/24/2016              $14.50
          Altisource     Exterior Property Inspection   8/3/2016               $14.50
          Altisource     Exterior Property Inspection   12/14/2016             $14.50
          Altisource     Exterior Property Inspection   12/27/2016             $14.50
          Altisource     Exterior Property Inspection   1/16/2017              $14.50
          Altisource     Exterior Property Inspection   2/14/2017              $14.50
          Altisource     Exterior Property Inspection   3/16/2017              $14.50
          Altisource     Exterior Property Inspection   4/18/2017              $14.50
          Altisource     Exterior Property Inspection   5/19/2017              $14.50
          Altisource     Exterior Property Inspection   6/19/2017              $14.50
          Altisource     Exterior Property Inspection   7/24/2017              $14.50
          Altisource     Exterior Property Inspection   8/25/2017              $14.50
          Altisource     Exterior Property Inspection   9/26/2017              $14.50
          Altisource     Exterior Property Inspection   10/28/2017             $14.50
          Altisource     Exterior Property Inspection   11/28/2017             $14.50
          Altisource     Exterior Property Inspection   12/28/2017             $14.50
          Altisource     Exterior Property Inspection   1/29/2018              $14.50
          Altisource     Exterior Property Inspection   3/2/2018               $14.50
          Altisource     Exterior Property Inspection   4/2/2018               $14.50
          Altisource     Ocwen BPO                      4/5/2018               $110.00
          Altisource     Exterior Property Inspection   4/30/2018              $14.50
          Altisource     Exterior Property Inspection   6/5/2018               $14.50
          Altisource     Exterior Property Inspection   7/10/2018              $14.50
          Altisource     Exterior Property Inspection   7/31/2018              $14.50
          Altisource     Exterior Property Inspection   9/4/2018               $14.50
          Altisource     Exterior Property Inspection   10/3/2018              $14.50
          Altisource     Exterior Property Inspection   11/9/2018              $14.50

      RESPONSE:



   4. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, or other documents referring to, relating to and/or justifying each of the



                                                   3
                                                                                   Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 4 of 23 PageID #: 2264




      following balances in Suspense as reflected by the Life of Loan History attached as “Exhibit

      C” to the Plaintiff’s First Amended Complaint and Demand for Jury Trial: $2,417.68 on or

      about November 7, 2012; $5,263.43 on or about May 6, 2013; $2,868.13 on or about

      February 9, 2015; $874.17 on or about July 5, 2016; $1,941.18 on or about August 29, 2016;

      and $26,975.16 on or about November 15, 2016.

      RESPONSE:



   5. As reflected by the Life of Loan History attached as “Exhibit C” to the Plaintiff’s First

      Amended Complaint and Demand for Jury Trial, full and complete copies of all notes,

      reports, memoranda, statements, entries, emails, electronic messages, or other documents

      referring to, relating to and/or justifying Ocwen’s reversal of payments totaling $1,944.12 on

      or about July 6, 2015, which had previously paid from Suspense.

      RESPONSE:



   6. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, or other documents referring to, relating to and/or justifying why

      Ocwen’s reversal of payments totaling $1,944.12 on or about July 6, 2015, previously paid

      from Suspense, were not returned to Suspense or applied elsewhere.

      RESPONSE:




                                                   4
                                                                                   Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 5 of 23 PageID #: 2265




   7. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, or other documents referring to, relating to and/or justifying the current

      whereabouts of the reversal of payments totaling $1,944.12 on or about July 6, 2015.

      RESPONSE:



   8. As reflected by the Life of Loan History attached as “Exhibit C” to the Plaintiff’s First

      Amended Complaint and Demand for Jury Trial, full and complete copies of all notes,

      reports, memoranda, statements, entries, emails, electronic messages, or other documents

      referring to, relating to and/or justifying Ocwen’s reversal of payments totaling $972.06 on

      or about July 22, 2015, which had previously been paid from Suspense.

      RESPONSE:



   9. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, or other documents referring to, relating to and/or justifying why

      $402.90 of Ocwen’s reversal of payments totaling $972.06 on or about July 22, 2015, funds

      previously moved from Suspense, were not returned to Suspense or applied elsewhere.

      RESPONSE:



   10. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, or other documents referring to, relating to and/or justifying the current

      whereabouts of the $402.90 of Ocwen’s reversal of payments totaling $972.06 on or about

      July 22, 2015, previously moved from Suspense but not applied elsewhere as set forth above.




                                                   5
                                                                                   Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 6 of 23 PageID #: 2266




      RESPONSE:



   11. As reflected by the Life of Loan History attached as “Exhibit C” to the Plaintiff’s First

      Amended Complaint and Demand for Jury Trial, full and complete copies of all notes,

      reports, memoranda, statements, entries, emails, electronic messages, or other documents

      referring to, relating to and/or justifying why Ocwen’s “BK Escrow Adjustment” on August

      6, 2015, resulted in the transfer of $569.16 from Suspense that was not transferred to Todd’s

      escrow account, used to pay taxes or insurance, or returned to Suspense.

      RESPONSE:



   12. As reflected by the Life of Loan History attached as “Exhibit C” to the Plaintiff’s First

      Amended Complaint and Demand for Jury Trial, full and complete copies of all notes,

      reports, memoranda, statements, entries, emails, electronic messages, or other documents

      referring to, relating to and/or justifying why on August 2, 2016, Ocwen posted Todd’s

      payment of $600.00 as a Suspense payment but his Suspense balance did not increase.

      RESPONSE:



   13. As reflected by the Life of Loan History attached as “Exhibit C” to the Plaintiff’s First

      Amended Complaint and Demand for Jury Trial, full and complete copies of all notes,

      reports, memoranda, statements, entries, emails, electronic messages, or other documents

      referring to, relating to and/or justifying why on January 4, 2017, Ocwen increase the

      principal balance of the Loan by $4,343.35.




                                                    6
                                                                                    Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 7 of 23 PageID #: 2267




      RESPONSE:



   14. As reflected by the Life of Loan History attached as “Exhibit C” to the Plaintiff’s First

      Amended Complaint and Demand for Jury Trial, full and complete copies of all notes,

      reports, memoranda, statements, entries, emails, electronic messages, or other documents

      referring to, relating to and/or justifying why beginning on February 2, 2017, Ocwen

      increased the principal and interest portion of Todd’s monthly payment obligation from

      $435.51 to $488.15.

      RESPONSE:



   15. Full and complete copies of each and every notice of payment change or notice of interest

      rate change sent by Ocwen to Todd in connection with Ocwen’s increase of the principal and

      interest portion of Todd’s monthly payment obligation from $435.51 to $488.15 beginning

      on February 2, 2017.

      RESPONSE:



   16. An up to date and exact reproduction of the life of loan mortgage transactional history for

      this loan on the system of record used by the servicer. For purposes of identification, the life

      of loan transactional history means any software program or system by which the servicer

      records the current mortgage balance, the receipt of all payments, the assessment of any late

      fees or charges, and the recording of any corporate advances for any legal fees or charges,

      and the recording of any corporate advances for any fees or charges including but not limited

      to property inspection fees, legal fees, escrow fees, processing fees or any other collateral




                                                    7
                                                                                    Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 8 of 23 PageID #: 2268




      charge. Also, to the extent this life of loan transactional history includes numeric or alpha-

      numeric codes, please attach a complete list of all such codes and state in plain English a

      short description for each such code.

      RESPONSE:



   17. Copies of any and all servicing notes related to Ocwen’s servicing of the loan at issue herein.

      RESPONSE:



   18. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, or other documents referring to, relating to and/or justifying why during

      the Bankruptcy Case from April of 2011 to November of 2011 Ocwen applied $163.64 to

      escrow from each payment it received from Todd via the Trustee as opposed to applying

      $97.54 to escrow per Ocwen’s Proof of Claim and the Chapter 13 Plan filed in the

      Bankruptcy Case.

      RESPONSE:



   19. Full and complete copies of each and every Notice of Payment Change for the escrow

      increase described in the immediately preceding request.

      RESPONSE:



   20. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, or other documents referring to, relating to and/or justifying why during

      the Bankruptcy Case from December of 2011 to August of 2012, Ocwen applied $163.64 to




                                                    8
                                                                                    Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 9 of 23 PageID #: 2269




      escrow from each payment it received from Todd via the Trustee as opposed to applying

      $0.01 per the Notice of Payment Change filed by Ocwen on November 16, 2011.

      RESPONSE:



   21. A complete statement of the amount of money which the Borrower must pay to cure any

      alleged outstanding default(s) on this loan and itemizing the components of that cure

      payment figure including principal, accrued interest, late fees, corporate advances, legal fees

      and any other fees and charges included in the sum required to cure any outstanding

      default(s).

      RESPONSE:




   22. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, or other documents referring or relating to each and every telephone call

      regarding the Loan made by a representative of Ocwen to Todd, including without

      limitation the following telephone calls to Todd:

          a. On January 31, 2018 at approximately 6:12 p.m. Eastern Time.

          b. On February 13, 2018, at approximately 2:24 p.m. Eastern Time.

          c. On February 16, 2018 at approximately 3:04 p.m. Eastern Time.

          d. On March 2, 2018 at approximately 5:29 p.m. Eastern Time.

          e. On March 9, 2018 at approximately 12:52 p.m. Eastern Time.

          f. On March 15, 2018 at approximately 4:12 p.m. Eastern Time.

          g. On March 22, 2018 at approximately 9:32 p.m. Eastern Time.

          h. On March 27, 2018 at approximately 6:56 p.m. Eastern Time.



                                                   9
                                                                                   Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 10 of 23 PageID #: 2270




         i. On April 3, 2018 at approximately 12:26 p.m. Eastern Time.

         j. On April 6, 2018 at approximately 2:56 p.m. Eastern Time.

         k. On April 11, 2018 at approximately 12:55 p.m. Eastern Time.

         l. On April 19, 2018 at approximately 2:20 p.m. Eastern Time.

         m. On April 23, 2018 at approximately 2:58 p.m. Eastern Time.

         n. On April 24, 2018 at approximately 12:26 p.m. Eastern Time.

         o. On April 25, 2018 at approximately 11:37 a.m. Eastern Time.

         p. On April 26, 2018 at approximately 10:06 a.m. Eastern Time.

         q. On April 27, 2018 at approximately 10:41 a.m. Eastern Time.

         r. On May 2, 2018 at approximately 11:38 a.m. Eastern Time.

         s. On May 3, 2018 at approximately 10:27 a.m. Eastern Time.

         t. On May 4, 2018 at approximately 11:00 p.m. Eastern Time.

         u. On May 5, 2018 at approximately 4:26 p.m. Eastern Time.

         v. On May 10, 2018 at approximately 10:30 a.m. Eastern Time.

         w. On May 11, 2018 at approximately 11:38 a.m. Eastern Time.

         x. On May 15, 2018 at approximately 9:39 a.m. Eastern Time.

         y. On May 19, 2018 at approximately 10:40 a.m. Eastern Time.

         z. On May 26, 2018 at approximately 9:48 a.m. Eastern Time

         aa. On June 8, 2018 at approximately 11:43 a.m. Eastern Time.

         bb. On June 12, 2018 at approximately 11:44 a.m. Eastern Time.

         cc. On June 15, 2018 at approximately 11:45 a.m. Eastern Time.

         dd. On June 19, 2018 at approximately 3:28 p.m. Eastern Time.

         ee. On June 22, 2018 at approximately 11:34 p.m. Eastern Time.




                                               10
                                                                          Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 11 of 23 PageID #: 2271




         ff. On June 26, 2018 at approximately 5:54 p.m. Eastern Time.

         gg. On July 2, 2018 at approximately 5:54 p.m. Eastern Time.

         hh. On July 9, 2018 at approximately 11:55 a.m. Eastern Time.

         ii. On July 12, 2018 at approximately 11:12 a.m. Eastern Time.

         jj. On July 16, 2018 at approximately 1:56 p.m. Eastern Time.

         kk. On July 19, 2018 at approximately 12:54 p.m. Eastern Time.

         ll. On July 24, 2018 at approximately 11:11 a.m. Eastern Time.

         mm.    On July 27, 2018 at approximately 12:24 p.m. Eastern Time.

         nn. On August 9, 2018 at approximately 9:26 a.m. Eastern Time.

         oo. On August 16, 2018 at approximately 10:06 a.m. Eastern Time.

         pp. On August 21, 2018 at approximately 10:19 a.m. Eastern Time.

         qq. On August 24, 2018 at approximately 10:04 a.m. Eastern Time.

         rr. On August 28, 2018 at approximately 11:32 a.m. Eastern Time.

         ss. On August 31, 2018 at approximately 5:24 p.m. Eastern Time.

         tt. On September 5, 2018 at approximately 11:42 a.m. Eastern Time.

         uu. On September 10, 2018 at approximately 12:30 p.m. Eastern Time.

         vv. On September 13, 2018 at approximately 10:46 a.m. Eastern Time.

         ww.    On September 19, 2018 at approximately 12:28 p.m. Eastern Time.

         xx. On September 24, 2018 at approximately 3:22 p.m. Eastern Time.

         yy. On September 27, 2018 at approximately 12:28 p.m. Eastern Time.

         zz. On October 2, 2018 at approximately 12:51 p.m. Eastern Time.

         aaa.   On October 5, 2018 at approximately 12:47 p.m. Eastern Time.

         bbb.   On October 10, 2018 at approximately 4:34 p.m. Eastern Time.




                                               11
                                                                               Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 12 of 23 PageID #: 2272




          ccc.    On October 15, 2018 at approximately 12:40 p.m. Eastern Time.

          ddd.    On October 18, 2018 at approximately 11:22 p.m. Eastern Time.

          eee.    On October 23, 2018 at approximately 1:07 p.m. Eastern Time.

          fff.    On October 26, 2018 at approximately 11:50 a.m. Eastern Time.

          ggg.    On October 31, 2018 at approximately 12:11 p.m. Eastern Time.

          hhh.    On November 6, 2018 at approximately 12:39 p.m. Eastern Time.

          iii. On November 13, 2018 at approximately 11:54 p.m. Eastern Time.

          jjj. On December 10, 2018 at approximately 12:52 p.m. Eastern Time.

      RESPONSE:



   23. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, or other documents referring or relating to Todd consenting or

      withdrawing consent to receive calls to his cellular phone regarding the Loan from a

      representative of Ocwen.

      RESPONSE:



   24. Full and complete copies of all policies, practices, and procedures regarding Ocwen’s use of

      automatic dialing systems, predictive dialers, and equipment with the capacity to dial

      telephone numbers without human intervention implemented or followed by Ocwen during

      the past 5 years.

      RESPONSE:




                                                   12
                                                                                   Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 13 of 23 PageID #: 2273




   25. Documents that identify the owner, manufacturer, installer, make and/or model of any and all

      automatic dialing systems, predictive dialers and equipment with the capacity to dial

      telephone numbers without human intervention used by representatives of Ocwen to call

      Todd in connection with the Loan.

      RESPONSE:


   26. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, or other documents referring to, relating to and/or justifying the

      following:

          a. The Mortgage Account Statement forwarded to Todd on or about November 8, 2016,

              which is attached as “Exhibit E” to Plaintiff’s First Amended Complaint and Demand

              for Jury Trial, seeking immediate payment of $14,256.83.

          b. The Delinquency Notice mailed to Todd on November 8, 2016, which is attached as

              “Exhibit F” to Plaintiff’s First Amended Complaint and Demand for Jury Trial,

              seeking immediate payment of $14,449.12.

          c. The correspondence directed to Todd on or about December 14, 2016, entitled “Funds

              Returned,” which is attached as “Exhibit G” to Plaintiff’s First Amended Complaint

              and Demand for Jury Trial.

          d. The January 6, 2017, letter mailed to Todd by Ocwen stating he is default and stating

              that if he remains in default he will lose his home.

          e. The Notice of Default, seeking immediate payment of $1,951.93, mailed by Ocwen to

              Todd on January 6, 2017.

          f. The Delinquency Notice, seeking immediate payment of $2,624.20, mailed by Ocwen

              to Todd on January 10, 2017.



                                                   13
                                                                                   Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 14 of 23 PageID #: 2274




         g. The Delinquency Notice, seeking immediate payment of $1,384.96 to avoid

            foreclosure, mailed by Ocwen to Todd on January 25, 2017, which is as “Exhibit H”

            to Plaintiff’s First Amended Complaint and Demand for Jury Trial.

         h. The Delinquency Notice, seeking immediate payment of $1,522.97, mailed by Ocwen

            to Todd, dated February 15, 2017.

         i. The Notice of Default, seeking immediate payment of $870.48, mailed by Ocwen to

            Todd, dated February 24, 2017.

         j. The correspondence to Todd, dated March 13, 2017, stating: “We have not received

            your 02/01/2017 through 03/01/2017 mortgage payments.”

         k. The Delinquency Notice, seeking immediate payment of $1,608.49, mailed by Ocwen

            to Todd, dated March 20, 2017.

         l. The Delinquency Notice, seeking immediate payment of $956.00, mailed by Ocwen

            to Todd, dated March 28, 2017.

         m. The Delinquency Notice, seeking immediate payment of $1,694.01, mailed by Ocwen

            to Todd, dated April 18, 2017.

         n. The Pre-Foreclosure Notice mailed by Ocwen to Todd, dated April 27, 2017, which is

            attached as “Exhibit I” to Plaintiff’s First Amended Complaint and Demand for Jury

            Trial.

         o. The Notice of Default, seeking immediate payment of $1,041.52, mailed by Ocwen to

            Todd, dated April 27, 2017.

         p. The Delinquency Notice, seeking immediate payment of $1,770.01, mailed by Ocwen

            to Todd, dated May 22, 2017.




                                                14
                                                                                Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 15 of 23 PageID #: 2275




         q. The Notice of Default, seeking immediate payment of $1,113.79, mailed by Ocwen to

            Todd, dated May 25, 2017.

         r. The Notice of Default, seeking immediate payment of $1,205.54, mailed by Ocwen to

            Todd, dated June 28, 2017.

         s. The Notice of Default, seeking immediate payment of $1,268.29, mailed by Ocwen to

            Todd, dated July 25, 2017.

         t. The Notice of Default, seeking immediate payment of $1,402.61, mailed by Ocwen to

            Todd, dated September 27, 2017.

         u. The Notice of Default, seeking immediate payment of $1,465.72, mailed by Ocwen to

            Todd, dated October 25, 2017.

         v. The Notice of Default, seeking immediate payment of $1,473.08, mailed by Ocwen to

            Todd, dated November 29, 2017.

         w. The Notice of Default, seeking immediate payment of $1,439.00, mailed by Ocwen to

            Todd, dated December 27, 2017.

         x. The correspondence Ocwen mailed to Todd, dated January 2, 2018 and titled

            “Assistance Options May Be Available,” stating the Loan was past due for the

            November 1, 2017, through January 1, 2018, payments and that the total amount

            owed was $2,032.18, which is attached as “Exhibit J” to Plaintiff’s First Amended

            Complaint and Demand for Jury Trial.

         y. The correspondence Ocwen mailed to Todd dated January 4, 2018, seeking the

            11/1/2017 through 1/1/2018 payments on the Loan.

         z. The Notice of Default, seeking immediate payment of $1,446.68, mailed by Ocwen to

            Todd, dated January 24, 2018.




                                               15
                                                                               Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 16 of 23 PageID #: 2276




         aa. The Notice of Default, seeking immediate payment of $1,461.40, mailed by Ocwen to

            Todd, dated March 27, 2018.

         bb. The correspondence Ocwen mailed to Todd, dated April 24, 2018, and titled

            “Assistance Options May Be Available,” stating the Loan was past due for the March

            and April payments in the amount of $585.56 each.

         cc. The Notice of Default, seeking immediate payment of $1,586.12, mailed by Ocwen to

            Todd, dated May 30, 2018, which is attached as “Exhibit K” to Plaintiff’s First

            Amended Complaint and Demand for Jury Trial.

         dd. The Notice of Default, seeking immediate payment of $1,593.48, mailed by Ocwen to

            Todd, dated June 27, 2018, which is attached as “Exhibit L” to Plaintiff’s First

            Amended Complaint and Demand for Jury Trial.

         ee. The Notice of Default, seeking immediate payment of $1,593.54 and stating: “In

            order to cure the default, payment for the entire total amount past due, plus any

            amount(s) becoming due in the interim, must be received on or before 08/31/2018, at

            the address listed on page four of this notice,” mailed by Ocwen to Todd, dated July

            25, 2018, which is attached as “Exhibit M” to Plaintiff’s First Amended Complaint

            and Demand for Jury Trial.

         ff. The correspondence Ocwen mailed to Todd, dated July 30, 2018, and titled

            “Assistance Options May Be Available,” stating the account was due for 6/1/2018

            through 7/1/2018, in the amount of $585.56 each.

         gg. The Notice of Default, seeking immediate payment of $1,593.31, mailed by Ocwen to

            Todd, dated August 24, 2018, which is attached as “Exhibit N” to Plaintiff’s First

            Amended Complaint and Demand for Jury Trial.




                                                 16
                                                                                 Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 17 of 23 PageID #: 2277




          hh. The Notice of Default, seeking immediate payment of $1,593.08, mailed by Ocwen to

              Todd, dated September 25, 2018, which is attached as “Exhibit O” to Plaintiff’s First

              Amended Complaint and Demand for Jury Trial.

          ii. The Notice of Default, seeking immediate payment of $1,592.85, mailed by Ocwen to

              Todd, dated October 26, 2018, which is attached as “Exhibit P” to Plaintiff’s First

              Amended Complaint and Demand for Jury Trial.

          jj. The Notice of Default, seeking immediate payment of $2,177.89 and stating, “Failure

              to cure the default on or before the date specified in the notice may result in

              acceleration of the sums secured by the Security, foreclosure by judicial proceeding

              and sale of the Property,” mailed by Ocwen to Todd, dated December 12, 2018,

              which is attached as “Exhibit Q” to Plaintiff’s First Amended Complaint and Demand

              for Jury Trial.

          kk. The Notice of Default, seeking immediate payment of $2,206.38 and stating:

              “Mortgage payments on the above referenced account are past due, which has cause a

              default under the terms of the Mortgage or Deed of Trust,” mailed by Ocwen to Todd,

              dated January 4, 2019, which is attached as “Exhibit R” to Plaintiff’s First Amended

              Complaint and Demand for Jury Trial.

          RESPONSE:



   27. Full and complete copies of all credit reporting data and/or e-Oscar AUD’s provided to any

      credit reporting agency with regard to the loan at issue herein.

      RESPONSE:




                                                   17
                                                                                     Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 18 of 23 PageID #: 2278




   28. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, or other documents referring to, relating to and/or justifying Ocwen’s

      response to Todd’s “NOE No. 1,” which response is identified in paragraphs 220 and 221 of

      the Plaintiff’s First Amended Complaint and Demand for Jury Trial and attached thereto as

      “Exhibit W.”

      RESPONSE:



   29. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, or other documents referring to, relating to and/or justifying Ocwen’s

      response to Todd’s “NOE No. 2,” which response is identified in paragraphs 235 and 239 of

      the Plaintiff’s First Amended Complaint and Demand for Jury Trial and attached thereto as

      “Exhibit Y.”

      RESPONSE:



   30. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, or other documents referring to, relating to and/or justifying Ocwen’s

      response to Todd’s “NOE No. 3,” which response is identified in paragraphs 255 and 258 of

      the Plaintiff’s First Amended Complaint and Demand for Jury Trial and attached thereto as

      “Exhibit BB.”

      RESPONSE:



   31. Full and complete copies of all notes, reports, memoranda, statements, entries, emails,

      electronic messages, or other documents referring to, relating to Todd’s “NOE No. 4,” which




                                                   18
                                                                                   Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 19 of 23 PageID #: 2279




      is identified in paragraphs 259 and 260 of the Plaintiff’s First Amended Complaint and

      Demand for Jury Trial and attached thereto as “Exhibit CC.”

      RESPONSE:



   32. A full and complete copy of all servicing agreements, servicing contracts, or other

      memoranda setting forth or describing the terms, limitations, and/or scope of Ocwen’s

      servicing duties as they relate to Deutsche Bank and the Loan.

      RESPONSE:



   33. A full complete copy of Ocwen’s entire servicing file relative to the Loan, including without

      limitation a full and complete copy of all servicing notes, collection notes, reports,

      memoranda, statements, entries, emails, electronic messages, or other documents generated

      in connection with the servicing of this loan as well as all correspondence and documents

      directed to Todd or received by Ocwen from Todd, including without limitation all

      recordings of all telephone calls between Todd and any representative of Ocwen.

      RESPONSE:




                                                   19
                                                                                    Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 20 of 23 PageID #: 2280




   34. Full and complete records of all payments and all disbursements related to the Loan,

      including without limitation all transaction histories, account reconciliation histories,

      bankruptcy reconciliation histories, life of loan histories, and monthly statements.

      RESPONSE:



   35. Full and complete copies of all servicing manuals, memoranda, notes, polices, and employee

      training materials related to reviewing, analyzing, and responding to Notices of Errors

      pursuant to 12 C.F.R. §1024.35 and/or responding to any other correspondence from a

      borrower regarding concerns or potential errors with their loans.

      RESPONSE:



   36. Full and complete copies of any and all contracts and vendor policies that Ocwen has with

      any outside entity or vendor that Ocwen utilizes for the mailing of any notices related to the

      Loan, including without limitation for mailing acknowledgments of, or responses to, Notices

      of Error pursuant to 12 C.F.R. § 1024.35.

      RESPONSE:




                                                   20
                                                                                     Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 21 of 23 PageID #: 2281




   37. A full and complete copy of the employment file of each Ocwen employee who was

      personally involved in the investigation or review of Todd’s various Notices of Error or other

      written correspondence provided by Todd or on Todd’s behalf, the preparation of any

      response to Todd’s various Notices of Error or written correspondence, was a party to any

      telephone conversation with Todd, or was otherwise tasked by Ocwen to correct any errors

      associated with the Loan.

      RESPONSE:



   38. Full and complete copies of any and all documents relating to policies or directives of Ocwen

      regarding treatment of loans and mortgage accounts of debtors involved in a Chapter 13

      bankruptcy, including without limitation any post-petition payment application policies and

      directives.

      RESPONSE:



   39. Full and complete copies of any and all documents relating to policies or directives regarding

      collection procedures for loans or mortgage accounts that were involved in a Chapter 13

      bankruptcy, including without limitation policies or directives directly affecting the Loan.

      RESPONSE:




                                                  21
                                                                                   Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 22 of 23 PageID #: 2282




   40. Copies of any and all consumer complaints provided to Ocwen from the Consumer Financial

      Protection Bureau related to the issue characterized by the Consumer Financial Protection

      Bureau’s Consumer Complaint Database as “Loan modification, collection, foreclosure”

      during the time period from January of 2018 to the present.

      RESPONSE:



   41. Copies of any and all of Ocwen’s responses to the consumer complaints produced in

      response to the immediately preceding request.

      RESPONSE:



   42. Each and every document identified in any response to any interrogatory served by Todd in

      this lawsuit.

      RESPONSE:



   43. A copy of each and every exhibit you intend to use at trial on this matter.

      RESPONSE:




                                                   22
                                                                                     Exhibit A
Case 2:19-cv-00085-JMS-DLP Document 67-1 Filed 11/20/19 Page 23 of 23 PageID #: 2283




                                                Respectfully submitted,

                                                /s/ Mike P. Maxwell, Jr.
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                                      CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a copy of the foregoing has been served by first
   class United States mail, postage prepaid, this 16th day of May, 2019 to:

   David M. Schultz
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                                                /s/ Mike P. Maxwell, Jr.
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                                                  23
                                                                                  Exhibit A
